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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                               Chapter 11

WOODBRIDGE GROUP OF COMPANIES, LLC,                                  Case No. 17-12560 (BLS)
et al.,1
                                                                     (Jointly Administered)
                                    Remaining Debtors.


MICHAEL GOLDBERG, in his capacity as
Liquidating Trustee of the WOODBRIDGE
LIQUIDATION TRUST,
                                                                     Adversary Proceeding
                                    Plaintiff,                       Case No. 19-50942 (BLS)

                         vs.

EDU FINANCIAL ADVISORS, LTD., d/b/a EDU
ADVISORS, LLC; EDU WEALTH ADVISORS LLC;
and ROGER DOBROVODSKY,

                                    Defendants.


                          FIRST AMENDED
                     COMPLAINT OBJECTING TO
                   CLAIMS AND COUNTERCLAIMING
            FOR AVOIDANCE AND RECOVERY OF AVOIDABLE
    PREFERENCES AND TRANSFERS, AND FOR EQUITABLE SUBORDINATION




1
         The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as
follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC
(0172).




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           The Woodbridge Liquidation Trust (the “Liquidation Trust” or “Plaintiff”), formed

pursuant to the First Amended Joint Chapter 11 Plan of Liquidation of Woodbridge Group of

Companies, LLC and Its Affiliated Debtors dated August 22, 2018 (Bankr. Docket No. 2397) (as

it may be amended, modified, supplemented, or restated from time to time, the “Plan”2), as and

for its First Amended Complaint Objecting to Claims and Counterclaiming for Avoidance and

Recovery of Avoidable Preferences and Transfers and for Equitable Subordination (this

“Complaint”) against Edu Financial Advisors, Ltd., d/b/a Edu Advisors, LLC (“Edu Financial”),

Edu Wealth Advisors LLC (“Edu Wealth”), and Roger Dobrovodsky (“Dobrovodsky” and,

together with Edu. Wealth and Edu Financial, the “Defendants”) alleges as follows:

                                          NATURE OF THE ACTION

           1.       Beginning no later than July 2012 through December 1, 2017, Woodbridge Group

of Companies, LLC and its 305 debtor affiliates (collectively, the “Debtors”) were operated by

their founder and principal, Robert Shapiro (“Shapiro”), as a Ponzi scheme. As part of this

fraud, Shapiro and his lieutenants utilized the Debtors to raise over one billion dollars from

approximately 10,000 investors nationwide as either Noteholders or Unitholders (collectively,

“Investors”).

           2.       Those Investors, many of whom were elderly, often placed a substantial

percentage of their net worth (including savings and retirement accounts) with the Debtors and

now stand to lose a significant portion of their investments and to be delayed in the return of the

remaining portion. The quality of the Investors’ lives will likely be substantially and adversely

affected by the fraud perpetrated by Shapiro and his lieutenants.




2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Plan.




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        3.       The purpose of this lawsuit is (i) to object to the Claims (defined below) so that

Defendants are not further compensated at the expense of legitimate creditors for activities that

advanced the Ponzi scheme and further drove the Debtors into insolvency, and to the extent the

Claim, or any new or amended claims, survive, to equitably subordinate them; and (ii) to avoid

and recover monies previously paid to Defendants by reason of these activities, on the grounds

that such payments were preferential, actually fraudulent, and/or constructively fraudulent.

                                  JURISDICTION AND VENUE

        4.       The Court has jurisdiction over this action under 28 U.S.C. §§ 157(a) and 1334.

Counts I, II, III, IV, V, VI, and VII of this adversary proceeding are core within the meaning of

28 U.S.C. § 157(b)(2)(B), (C), (F), and (H), and Counts VIII, IX, and X are non-core. Plaintiff

consents to entry of final orders or judgment by this Court on all counts.

        5.       Venue of this adversary proceeding is proper in this Court pursuant to 28 U.S.C.

§§ 1408 and 1409.

                                           THE PARTIES

The Liquidation Trust

        6.       On December 4, 2017 (the “Initial Petition Date”), certain of the Debtors

commenced voluntary cases under chapter 11 of the Bankruptcy Code. Other of the Debtors

followed with their own voluntary cases (collectively with those of the original Debtors, the

“Bankruptcy Cases”) within the following four months (each such date, including the Initial

Petition Date, a “Petition Date”).

        7.       On October 26, 2018, this Court entered an order confirming the Plan (Bankr.

Docket No. 2903).




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        8.       The Plan provides for, inter alia, the establishment of the Liquidation Trust on the

Effective Date of the Plan for the benefit of the Liquidation Trust Beneficiaries in accordance

with the terms of the Plan and the Liquidation Trust Agreement. See Plan §§ 1.75, 5.4.

        9.       The Effective Date of the Plan occurred on February 15, 2019.

        10.      On February 25, 2019, the Court entered an order closing the Bankruptcy Cases

of all Debtors except Woodbridge Group of Companies, LLC and Woodbridge Mortgage

Investment Fund 1, LLC (together, the “Remaining Debtors”). The Remaining Debtors’

Bankruptcy Cases are jointly administered under Case No. 17-12560 (BLS).

        11.      On the Effective Date, the Liquidation Trust was automatically vested with all of

the Debtors’ and the Estates’ respective rights, title, and interest in and to all Liquidation Trust

Assets. See Plan § 5.4.3. Further, the Liquidation Trust, as successor in interest to the Debtors,

has the right and power to file and pursue any and all “Liquidation Trust Actions” without any

further order of the Bankruptcy Court. Id. § 5.4.15. “Liquidation Trust Actions” include, inter

alia, “all Avoidance Actions and Causes of Action held by the Debtors or the Estates ….”

Id. § 1.76.

Defendants

        12.       Defendant Edu Financial is an Indiana corporation. Defendant Edu Wealth is an

Indiana limited liability company. Defendant Dobrovodsky is an individual residing in the state

of Indiana. Upon information and belief, Defendants are related entities or alter egos of one

another: (i) they have offices in the same suite at 8355 Rockville Rd., Suite 130; Indianapolis,

Indiana; and (ii) they engaged in the same business at all times relevant hereto. Upon

information and belief, Defendants acted as financial advisors and/or brokers that sold securities

to the public and provided investment services.



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        13.      Defendants sold Notes and Units to unsuspecting Investors, created marketing

materials and sales scripts to facilitate the sale of Notes and Units to unsuspecting Investors

(often targeting unsophisticated, elderly investors with Individual Retirement Accounts). In so

doing, Defendants made materially false and fraudulent statements to induce Investors to provide

money. In connection with such conduct, Defendants, directly or indirectly, singly or in concert

with others, made use of the means or instrumentalities of interstate commerce, the means or

instruments of transportation or communication in interstate commerce, and of the mails.

                                   FACTUAL BACKGROUND

The Fraud

        14.      At least since July 2012 until shortly before they sought bankruptcy protection,

the Debtors were operated as a Ponzi scheme. As this Court explained in its order confirming

the Plan:

                 The evidence demonstrates, and the Bankruptcy Court hereby finds, that
                 (i) beginning no later than July 2012 through December l, 2017, Robert H.
                 Shapiro used his web of more than 275 limited liability companies,
                 including the Debtors, to conduct a massive Ponzi scheme raising more
                 than $1.22 billion from over 8,400 unsuspecting investors nationwide;
                 (ii) the Ponzi scheme involved the payment of purported returns to
                 existing investors from funds contributed by new investors; and (iii) the
                 Ponzi scheme was discovered no later than December 2017.

        15.      The securities sold by Defendants (i.e., the Debtors’ Notes and Units) were not

registered with the Securities and Exchange Commission (the “SEC”) or applicable state

securities agencies and there was no applicable exemption from registration. Nor were

Defendants registered as broker-dealers with the SEC or applicable state agencies.

        16.      Investors were often told that they were investing money to be loaned with

respect to particular properties owned by third parties, that those properties were worth

substantially more than the loans against the properties, and that they would have the benefit of a


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stream of payments from these third parties for high-interest loans, protected by security interests

and/or mortgages against such properties. Shapiro and his lieutenants represented to Investors

that the Debtors’ profits would be generated by the difference between the interest rate the

Debtors charged its third-party borrowers and the interest rate it paid Investors.

        17.      In reality, these statements were lies. Investors’ money was almost never used to

make high-interest loans to unrelated, third-party borrowers, and there was no stream of

payments; instead, Investors’ money was commingled and used for an assortment of items,

including maintaining a lavish lifestyle for Shapiro and his family, brokers’ commissions,

overhead (largely for selling even more Notes and Units to Investors), and payment of principal

and interest to existing Investors. The money that was used to acquire properties (almost always

owned by a disguised affiliate) cannot be traced to any specific Investor. These are typical

characteristics of Ponzi schemes.

        18.      Because the Debtors operated as a Ponzi scheme, obtaining new money from

Investors into the Ponzi scheme conferred no net benefit on the Debtors; on the contrary, each

new investment was a net negative. Money was siphoned off to pay the expenses described

above, so that the Debtors actually received only a fraction of the investment dollars. New

money also perpetuated the Ponzi scheme, as such money enabled the Debtors to return fictitious

“profits” to early Investors – an essential component of the scheme, because “repaying” early

Investors led to new investments, without which the house of cards would fall, as it eventually

did. At the same time, each investment created an obligation to return to the defrauded Investor

100% of the investment, such that each new investment increased the Debtors’ liabilities and

ultimately left them unable to satisfy their aggregate liabilities.




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The Proof(s) of Claim

        19.      Defendant Edu Financial was scheduled by the Debtors for claims against the

Debtors as identified in particular on Exhibit A hereto (collectively the “Claims”). The Claims

are based on Notes and/or Units held by and commissions owed to Defendant.

        20.      Defendants engaged in activities that generated investments in the Debtors.

Defendants are or were in the business of selling investment products, including the Debtors’

Notes and/or Units, to retail investors. Defendants solicited and sold Notes and/or Units to

investors. Defendants received commission payments from the Debtors on account of Notes

and/or Units sold to investors

The Transfers

        21.      Plaintiff is informed and believes and thereupon alleges that within the 90 days

preceding the relevant transferor’s petition date, Defendants received transfers totaling not less

than the amount set forth on Exhibit B hereto (the “90 Day Transfers”), including commission

payments and other compensation. The precise 90 Day Transfers – including the transferor, its

Petition Date, the date of each transfer, and the amount of each transfer – are set forth on

Exhibit B.

        22.      Plaintiff is informed and believes and thereupon alleges that within the two years

preceding the Initial Petition Date, Defendants received transfers totaling not less than the

amount set forth on Exhibit B hereto (the “Two Year Transfers”), including commission

payments and other compensation. (The Two Year Transfers are inclusive of the 90 Day

Transfers, but Plaintiff does not seek to recover the same sum more than once.) The Two Year

Transfers – including the transferor, its Petition Date, the date of each transfer, and the amount of

each transfer – are set forth on Exhibit B.



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                                      FIRST CLAIM FOR RELIEF

                             Avoidance and Recovery of Preferential Transfers

          23.    Plaintiff realleges and incorporates herein Paragraphs 1 through 22, as if fully set

forth herein.

          24.    The 90 Day Transfers constituted transfers of the Debtors’ property.

          25.    The 90 Day Transfers were made to or for the benefit of Defendants on account of

an antecedent debt and while the Debtors were insolvent. The affirmative assertion that the

Debtors were insolvent at the times of the 90 Day Transfers is not intended and does not shift the

burden of proof or alter the presumption of insolvency provided by Bankruptcy Code section

547(f).

          26.    By virtue of the 90 Day Transfers, Defendants received more than he would have

received if the 90 Day Transfers had not been made and if Defendants received a distribution

pursuant to a chapter 7 liquidation.

          27.    As a result of the foregoing, Plaintiff is entitled to judgment pursuant to

Bankruptcy Code sections 547(b), 550(a), and 551: (a) avoiding the 90 Day Transfers free and

clear of any interest of Defendants, (b) directing that the 90 Day Transfers be set aside, and

(c) recovering the 90 Day Transfers or the value thereof from Defendants for the benefit of the

Liquidation Trust.

                                     SECOND CLAIM FOR RELIEF

    Avoidance and Recovery of Actual Intent Fraudulent Transfers – Bankruptcy Code

          28.    Plaintiff realleges and incorporates herein Paragraphs 1 through 27, as if fully set

forth herein.

          29.    The Two Year Transfers constituted transfers of the Debtors’ property.



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        30.      The Two Year Transfers were made by the Debtors with actual intent to hinder or

delay or defraud their creditors insofar as the services allegedly provided in exchange for such

transfers perpetuated a Ponzi scheme.

        31.      The Two Year Transfers were made to or for the benefit of Defendants.

        32.      As a result of the foregoing, Plaintiff is entitled to judgment pursuant to

Bankruptcy Code sections 548(a), 550(a), and 551: (a) avoiding the Two Year Transfers free and

clear of any claimed interest of Defendants, (b) directing that the Two Year Transfers be set

aside, and (c) recovering such Two Year Transfers or the value thereof from Defendants for the

benefit of the Liquidation Trust.

                                  THIRD CLAIM FOR RELIEF

     Avoidance and Recovery of Constructive Fraudulent Transfers – Bankruptcy Code

        33.      Plaintiff realleges and incorporates herein Paragraphs 1 through 32, as if fully set

forth herein.

        34.      The Two Year Transfers constituted transfers of the Debtors’ property.

        35.      The Two Year Transfers were made by the Debtors for less than reasonably

equivalent value at a time when the Debtors (i) were insolvent; and/or (ii) were engaged or about

to engage in business or a transaction for which any capital remaining with the Debtors were an

unreasonably small capital; and/or (iii) intended to incur, or believed that Debtors would incur,

debts beyond their ability to pay as such debts matured.

        36.      The Two Year Transfers were made to or for the benefit of Defendants.

        37.      As a result of the foregoing, Plaintiff is entitled to judgment pursuant to

Bankruptcy Code sections 548(a), 550(a), and 551: (a) avoiding the Two Year Transfers free and

clear of any claimed interest of Defendants, (b) directing that the Two Year Transfers be set



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aside, and (c) recovering such Two Year Transfers or the value thereof from Defendants for the

benefit of the Liquidation Trust.

                                 FOURTH CLAIM FOR RELIEF

         Avoidance and Recovery of Actual Intent Voidable Transactions – State Law

        38.      Plaintiff realleges and incorporates herein Paragraphs 1 through 37, as if fully set

forth herein.

        39.      The Two Year Transfers constituted transfers of the Debtors’ property.

        40.      The Two Year Transfers were made by the Debtors with actual intent to hinder or

delay or defraud their creditors insofar as the services allegedly provided in exchange for such

transfers perpetuated a Ponzi scheme.

        41.      The Two Year Transfers were made to or for the benefit of Defendants.

        42.      Each Debtor that made any of the Two Year Transfers had at least one creditor

with an allowable unsecured claim for liabilities, which claim remained unsatisfied as of the

Petition Date.

        43.      The Two Year Transfers are avoidable under applicable law – California Civil

Code section 3439.04(a)(1) and/or comparable provisions of law in other jurisdictions that have

adopted the Uniform Voidable Transactions Act, the Uniform Fraudulent Transfer Act or the

Uniform Fraudulent Conveyance Act – by a creditor holding an allowed unsecured claim and

thus by Plaintiff pursuant to Bankruptcy Code section 544(b).

        44.      As a result of the foregoing, Plaintiff is entitled to judgment pursuant to

Bankruptcy Code sections 544(b), 550(a), and 551: (a) avoiding the Two Year Transfers free and

clear of any claimed interest of Defendants, (b) directing that the Two Year Transfers be set




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aside, and (c) recovering such Two Year Transfers or the value thereof from Defendants for the

benefit of the Liquidation Trust.

                                    FIFTH CLAIM FOR RELIEF

         Avoidance and Recovery of Constructive Voidable Transactions – State Law

        45.      Plaintiff realleges and incorporates herein Paragraphs 1 through 44, as if fully set

forth herein.

        46.      The Two Year Transfers constituted transfers of the Debtors’ property.

        47.      The Two Year Transfers were made by the Debtors for less than reasonably

equivalent value at a time when the Debtors (i) were insolvent; and/or (ii) were engaged or was

about to engage in business or a transaction for which any capital remaining with the Debtors

were an unreasonably small capital; and/or (iii) intended to incur, or believed that it would incur,

debts beyond their ability to pay as such debts matured.

        48.      The Two Year Transfers were made to or for the benefit of Defendants.

        49.      At the time of and/or subsequent to each of the Two Year Transfers, each Debtor

that made any of the Two Year Transfers had at least one creditor with an allowable unsecured

claim for liabilities, which claim remained unsatisfied as of the Petition Date.

        50.      The Two Year Transfers are avoidable under applicable law – California Civil

Code section 3439.04(a)(2) and/or comparable provisions of law in other jurisdictions that have

adopted the Uniform Voidable Transactions Act, the Uniform Fraudulent Transfer Act or the

Uniform Fraudulent Conveyance Act – by a creditor holding an allowed unsecured claim and

thus by Plaintiff pursuant to Bankruptcy Code section 544(b).

        51.      As a result of the foregoing, Plaintiff is entitled to judgment pursuant to

Bankruptcy Code sections 544(b), 550(a), and 551: (a) avoiding the Two Year Transfers free and



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clear of any claimed interest of Defendants, (b) directing that the Two Year Transfers be set

aside, and (c) recovering such Two Year Transfers or the value thereof from Defendants for the

benefit of the Liquidation Trust.

                                       SIXTH CLAIM FOR RELIEF

                       Objection to Claims (Bankruptcy Code Section 502(d))

                 52.         Plaintiff realleges and incorporates herein Paragraphs 1 through 51, as if

fully set forth herein.

                 53.         The Claims are not allowable because:

                                a. Defendants received property, i.e., the Transfers, recoverable under
                                   Bankruptcy Code section 550; and/or

                                b. Defendants received a transfer, i.e., the Transfers, avoidable under
                                   Bankruptcy Code section 544, 547, or 548.

                 54.         In either event, the Claims must be disallowed under Bankruptcy Code

section 502(d) unless and until Defendants has fully repaid the amount, or turned over any such

property, for which Defendants are liable under Bankruptcy Code section 550.

                                    SEVENTH CLAIM FOR RELIEF

                                    Equitable Subordination of Claims

                 55.         Plaintiff realleges and incorporates herein Paragraphs 1 through 54, as if

fully set forth herein.

                 56.         By providing services that helped perpetuate a Ponzi scheme, Defendants

engaged in inequitable conduct.

                 57.         Defendants’ inequitable conduct has resulted in injury to the Debtors’

estates and their other creditors and/or has conferred an unfair advantage on Defendants.




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                  58.        Principles of equitable subordination require that any claims asserted by

Defendants be equitably subordinated to all other claims against the Debtors.

                  59.        Equitable subordination as requested herein is consistent with the

provisions and purposes of the Bankruptcy Code.

                  60.        As a result of the foregoing, Plaintiff is entitled to judgment pursuant to

Bankruptcy Code section 510(c) equitably subordinating any and all claims that Defendants may

assert against any of the Debtors, whatever the origin of those claims, including, without

limitation, the Claims and any claims that may be asserted under Bankruptcy Code section

502(h), to all other claims against the Debtors.

                                      EIGHTH CLAIM FOR RELIEF

          Sale of Unregistered Securities (Securities Act Sections 5(a), 5(c), and 12(a))

        61.       Plaintiff realleges and incorporates herein Paragraphs 1 through 60, as if fully set

forth herein.

        62.       The Notes and Units sold by Defendants were securities within the meaning of the

Securities Act.

        63.       No registration statement was filed or in effect with the SEC pursuant to the

Securities Act with respect to the securities issued by the Debtors as described in this Complaint

and no exemption from registration existed with respect to these securities.

        64.       From in or about July 2012 through at least December 4, 2017, Defendants

directly and indirectly:

                  a.         made use of any means or instruments of transportation or communication
                             in interstate commerce or of the mails to sell securities, through the use or
                             medium of a prospectus or otherwise;

                  b.         carried or caused to be carried securities through the mails or in interstate
                             commerce, by any means or instruments of transportation, for the purpose
                             of sale or delivery after sale; and/or

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                 c.          made use of any means or instruments of transportation or communication
                             in interstate commerce or of the mails to offer to sell or offer to buy
                             through the use or medium of any prospectus or otherwise any security,

without a registration statement having been filed or being in effect with the SEC as to such

securities.

        65.      By reason of the foregoing, Defendants violated Sections 5(a) and 5(c) of the

Securities Act, 15 U.S.C. §§ 77e(a) and 77e(c).

        66.      The Investors who contributed their claims to the Liquidation Trust purchased the

unregistered securities issued by the Debtors and as a direct and proximate result sustained

significant damages. Accordingly, the Liquidation Trust has standing under Section 12(a)(1) of

the Securities Act, 15 U.S.C. § 77l(a)(1), to bring a cause of action seeking damages based on

Defendants’ violations of Section 5(a) and 5(c) of the Securities Act.

        67.      As a result of the foregoing, Plaintiff is entitled to judgment holding Defendants

jointly and severally liable for the sale of unregistered securities, as set forth in Exhibit B, or in

an amount to be proven at trial.

                                      NINTH CLAIM FOR RELIEF

                                                  Fraud

        68.      Plaintiff realleges and incorporates herein Paragraphs 1 through 67, as if fully set

forth herein.

        69.      Defendants misrepresented the facts to Investors, including by making affirmative

misrepresentations and by concealing and failing to disclose the true facts. Among the

misrepresentations were that Investors were often told that they were investing money to be

loaned with respect to particular properties owned by third parties, that those properties were

worth substantially more than the loans against the properties, and that they would have the



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benefit of a stream of payments from these third parties for high-interest loans, protected by

security interests and/or mortgages against such properties.

         70.     In reality, these statements were lies. Investors’ money was almost never used to

make high-interest loans to unrelated, third-party borrowers, and there was no stream of

payments; instead, Investors’ money was commingled and used for an assortment of expenses,

including maintaining a lavish lifestyle for Shapiro and his family, brokers’ commissions,

overhead (largely for selling even more Notes and Units to Investors), and payment of principal

and interest to existing investors. The money that was used to acquire properties (almost always

owned by a disguised affiliate) cannot be traced to any specific Investor.

         71.     Defendants made these misrepresentations knowingly, with scienter, and with

intent to defraud Investors.

         72.     The Investors who contributed their claims to the Liquidation Trust justifiably

relied on Defendants’ misrepresentations of facts, and as a direct and proximate result sustained

hundreds of millions of dollars in damages.

         73.     As a result of the foregoing, Plaintiff is entitled to judgment holding Defendants

jointly and severally liable for fraud, as set forth in Exhibit B, or in an amount to be proven at

trial.

                                  TENTH CLAIM FOR RELIEF

                                    Aiding and Abetting Fraud

         74.     Plaintiff realleges and incorporates herein Paragraphs 1 through 73, as if fully set

forth herein.

         75.     Shapiro – an architect of the fraud – also misrepresented the facts to Investors,

and did so knowingly, with scienter, and with intent to defraud Investors. The Investors who



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contributed their claims to the Liquidation Trust justifiably relied on Shapiro’s

misrepresentations of facts, and as a direct and proximate result sustained hundreds of millions

of dollars in damages.

        76.      Defendants knowingly and substantially assisted Shapiro in defrauding Investors.

        77.      Defendants were aware of Shapiro’s fraud and acted knowingly in providing

substantial and material assistance to Shapiro.

        78.      Defendants substantially benefited by receiving income, commissions, and

bonuses.

As a result of the foregoing, Plaintiff is entitled to judgment holding Defendants jointly and

severally liable for aiding and abetting fraud, as set forth in Exhibit B, or in an amount to be

proven at trial, in an amount to be proven at trial.

                                          PRAYER FOR RELIEF

        WHEREFORE, by reason of the foregoing, Plaintiff requests that the Court enter

judgment:

                 (1)         On the first claim for relief, (a) avoiding the 90 Day Transfers free and
                             clear of any interest of Defendants, (b) directing that the 90 Day Transfers
                             be set aside, and (c) ordering Defendants to pay to Plaintiff $111,466.26;

                 (2)         On the second, third, fourth, and fifth claims for relief, (a) avoiding the
                             Two Year Transfers free and clear of any claimed interest of Defendants,
                             (b) directing that the Two Year Transfers be set aside, and (c) ordering
                             Defendants to pay to Plaintiff $764,089.78;

                 (3)         On the sixth claim for relief, sustaining the objection to the Claims,
                             decreeing that Defendants take nothing therefrom, and directing the
                             Claims Agent to strike the Schedule F claims from the official Claims
                             Register as set forth in more detail in Exhibit A;

                 (4)         On the seventh claim for relief, equitably subordinating any and all claims
                             that Defendants may assert against any of the Debtors or their estates,
                             whatever the origin of those claims, including, without limitation, the
                             Claim and any claims that may be asserted under Bankruptcy Code section
                             502(h), to all other claims against the Debtors or their estates;

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                 (5)         On the eighth claim for relief, holding Defendants jointly and severally
                             liable for damages, in the amount of $7,726,582.98 for sale of Notes
                             and/or Units as set forth in Exhibit B, or in an amount to be proven at trial,
                             arising from Defendants’ sale of unregistered securities;

                 (6)         On the ninth claim for relief, holding Defendants jointly and severally
                             liable for fraud, for $7,726,582.98 for sale of Notes and/or Units as set
                             forth in Exhibit B in an amount to be proven at trial;

                 (7)         On the tenth claim for relief, holding Defendants jointly and severally
                             liable for aiding and abetting fraud, in the amount of $7,726,582.98 for
                             sale of Notes and/or Units as set forth in Exhibit B, or in an amount to be
                             proven at trial; and

                 (8)         On all claims for relief, awarding Plaintiff prejudgment interest as
                             permitted by law, costs of suit, and such other and further relief as is just
                             and proper.



Dated:     December 4, 2019                    PACHULSKI STANG ZIEHL & JONES LLP
           Wilmington, Delaware
                                               /s/ Colin R. Robinson                                 .
                                               Richard M. Pachulski (CA Bar No. 90073)
                                               Andrew W. Caine (CA Bar No. 110345)
                                               Bradford J. Sandler (DE Bar No. 4142)
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